Case 2:05-cv-01384-JAP-MCA Document 2 Filed 03/16/05 Page 1 of 34 PagelD: 73

a

UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

 

WINGATE INNS INTERNATIONAL,
INC., a Delaware Corporation,

Plaintiff, , . | iy
Civil Action No. 03- 5§4 fe?

COMMACK HOSPITALITY, LLC, a
Virginia Corporation, NILESH PATEL, an
individual, SUDHA PATEL, an individual,
MEENAKSHI BHARGAVA, an individual,
MADAN BHANDARI, an individual, LOVE
KUMAR, an individual, AMIT PATEL, an
individual, VARSHA DESAI, an individual,
CHANDRA KHURANA, an_ individual,
NEENA SHAH, an individual, SUNITA
SHAH, an individual, BIPAN CHODAY, an
individual, PARAMJIT SINGH, = an
individual, NIKUR AMIN, an individual,
VIRAL PATEL, an individual, PATEL
LIVING TRUST, a Virginia Trust, and ADA
HOLDING CORP,, a Virginia corporation,

SUMMONS

Defendants.
To the above named Defendant: Commack Hospitality, LLC
265 Brookville Road
Brookville, NY 11545

YOU ARE HEREBY SUMMONED and required to file with the Clerk of this Court and

serve upon, plaintiff's attorney, whose address is:
Connell Foley LLP

85 Livingston Avenue
Roseland, New Jersey 07068

an answer to the complaint which is herewith served upon you, within 20 days after service of
this summons upon you, exclusive of the day of service. If you fail to do so, judgment by default

will be taken against you for the relief demanded in the complaint.

WILLIAMT.WALSH 8 //e/(is

“Fh Uda (hy Date
NLA

By Deputy Clerk ©
*

Case 2:05-cv-01384-JAP-MCA Document 2 Filed 03/16/05 Page 2 of 34 PagelD: 74

 

 

 

RETURN OF SERVICE
Service of the Sumamons and Complaint was made by me! Date
Name of Server Titie

 

Check one box below to indicate appropriate method of service

 

 

discretion then residing therein.

Name of person with whom the summons and complaint were left:

Oo Served personally upon the defendant. Place where served:
Commack Hospitality, LLC
o Left copies thereof at the defendant’s dwelling house or usual place of abode with a person of suitable age and

 

oO Returned unexecuted:

 

 

O ~— Other (Specify):

 

 

 

STATEMENT OF SERVICE FEES

 

Travel Services

 

 

Total

 

Executed on

DECLARATION OF SERVER

I declare under penalty of perjury under the laws of the United States of America that the foregoing informatio!
contained in the Return of Service and Statement of Service Fees is true and correct.

 

Date Signature of Server

 

 

Address of Server

 

1As to whe may serve a summons see Rule 4 of the Federal Rules of Civil

Procedure.
 

Case 2:05-cv-01384-JAP-MCA Document 2 Filed 03/16/05 Page 3 of 34 PagelD: 75

UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

 

WINGATE INNS INTERNATIONAL,
INC., a Delaware Corporation,

Plaintiff, . Civil Action No, 05- (AK HP

‘COMMACK HOSPITALITY, LLC, a
Virginia Corporation, NILESH PATEL, an
individual, SUDHA PATEL, an individual,
MEENAKSHI BHARGAVA, an individual, -
MADAN BHANDARL an individual, LOVE -
KUMAR, an individual, AMIT PATEL, an '
individual, VARSHA DESALE an individual,
CHANDRA KHURANA, an _ individual,
NEENA SHAH, an individual, SUNITA
SHAH, an individual, BIPAN CHODAY, an
individual, PPARAMIJIT SINGH, an
individual, NIKUR AMIN, an. individual,
VIRAL PATEL, an individual, PATEL
LIVING TRUST, a Virginia Trust, and ADA
HOLDING CORP., a Virginia corporation,

SUMMONS

Defendants.
To the above named Defendant: Sudha Patel
Commack Hospitality, LLC

265 Brookville Road
Brookville, NY 11545

YOU ARE HEREBY SUMMONED and required to file with the Clerk of this Court and —
serve upon, plaintiff's attorney, whose address is:
Connell Foley LLP

85 Livingston Avenue
Roseland, New Jersey 07068 |

an answer to the complaint which is herewith served upon you, within 20 days after service of
this summons upon you, exclusive of the day of service. Tf you fail to do so, judgment by default

will be taken against you for the relief demanded in the complaint.

WILLIAM T. WALSH LY. bls

iw Ws

Beputy Clerk
 

 

Case 2:05-cv-01384-JAP-MCA Document 2 Filed 03/16/05 Page 4 of 34 PagelD: 76

 

 

 

RETURN OF SERVICE
Service of the Summons and Complaint was made by me® Date
Name of Server Title

 

 

Check one box below to indicate appropriate method of service

 

Oo Served personally upon the defendant. Place where served:__
Sudha Patel
Oo Left copies thereof at the defendant’s dwelling house or usual place of abode with a person of suitable age and

discretion then residing therein.

Name of person with whom the summons and complaint were left:

 

oO Returned unexecuted:

 

 

 

o Other (Specify):

 

 

STATEMENT OF SERVICE FEES

 

Travel Services

 

 

Total

 

DECLARATION OF SERVER

I declare under penalty of perjury under the laws of the United States of America that the foregoing information
contained in the Return of Service and Statement of Service Fees is true and correct.

Executed on
Date

 

Signature of Server

 

Address of Server

 

22as to who may serve a Summons see Rule 4 of the Federal Rules of Civil

Procedure.
Case 2:05-cv-01384-JAP-MCA Document 2 Filed 03/16/05 Page 5 of 34 PagelD: 77

UNITED STATES DISTRICT COURT
| DISTRICT OF NEW JERSEY —

 

WINGATE INNS = INTERNATIONAL,
INC., a Delaware Corporation,

Plaintiff, | AK
am , Civil ActionNo.05- [997 ff

COMMACK HOSPITALITY, LLC, a
Virginia Corporation, NILESH PATEL, an
individual, SUDHA PATEL, an individual,
MEENAKSHI BHARGAVA, an individual,
MADAN BHANDARI, an individual, LOVE
KUMAR, an individual, AMIT PATEL, an
individual, VARSHA DESAI, an individual,
CHANDRA KHURANA, an_ individual,
NEENA SHAH, an individual, SUNITA
SHAH, an individual, BIPAN CHODAY, an
individual, PARAMJIT SINGH, = an
individual, NIKUR AMIN, an individual,
VIRAL PATEL, an individual, PATEL
LIVING TRUST, a Virginia Trust, and ADA
HOLDING CORP., a Virginia corporation,

SUMMONS

Defendants,
To the above named Defendant: Nilesh Patel
Commack Hospitality, LLC

265 Brookville Road
Brookville, NY 11544

YOU ARE HEREBY SUMMONED and required to file with the Clerk of this Court and |
serve upon, plaintiff's attorney, whose address is:
Connell Foley LLP

85 Livingston Avenue
Roseland, New Jersey 07068

an answer to the complaint which is herewith served upon you, within 20 days after service of
this summons upon you, exclusive of the day of service. If you fail to do so, judgment by default

will be taken agaist you for the relief demanded in the complaint.

WILLIAM T. WALSH Hallé

Ulan Me™

By Deputy Clerk =

 

 

 
 

 

 

Case 2:05-cv-01384-JAP-MCA Document 2 Filed 03/16/05 Page 6 of 34 PagelD: 78

 

 

 

RETURN OF SERVICE
Service of the Summons and Complaint was made by me” Date
Name of Server . ‘Title

 

 

Check one bux below to indicate appropriate method of service

 

Oo Served personally upon the defendant, Place where served:
Nilesh Patel
o Left copies thereof at the defendant’s dwelling house or usual place of abode with a person of suitable age and

discretion then residing therein.
Name of person with whom the summons and complaint were left:

 

oO Returned unexecuted:

 

 

O Other (Specify):

 

 

 

STATEMENT OF SERVICE FEES
Travel Services Total

 

 

 

 

DECLARATION OF SERVER

I declare under penalty of perjury under the laws of the United States of America that the foregoing information
contained in the Return of Service and Statement of Service Fees is true and correct.

Executed on

 

Dale Signature of Server

 

Address of Server

 

“As to who may serve a summons see Rule 4 of the Federal Rules of Civil’
Procedure.

 
Case 2:05-cv-01384-JAP-MCA Document 2 Filed 03/16/05 Page 7 of 34 PagelD: 79

UNITED STATES DISTRICT COURT
- DISTRICT OF NEW JERSEY

 

WINGATE INNS = INTERNATIONAL,
INC., a Delaware Corporation,

Plaintiff, ; Civil Action No. 05- [344 SH

‘COMMACK HOSPITALITY, LLC, a
Virginia Corporation, NILESH PATEL, an
individual, SUDHA PATEL, an individual,
MEENAKSHI BHARGAVA, an individual,
MADAN BHANDARI, an individual, LOVE
KUMAR, an individual, AMIT PATEL, an
mdividual, VARSHA DESAI, an individual,
CHANDRA KHURANA, an_ individual,
NEENA SHAH, an individual, SUNITA
SHAH, an individual, BIPAN CHODAY, an
individual, PARAMJIT SINGH, an
individual, NIKUR AMIN, an individual,
VIRAL PATEL, an individual, PATEL
LIVING TRUST, a Virginia Trust, and ADA
HOLDING CORP., a Virginia corporation,

SUMMONS

Defendants.
To the above named Defendant: Meenakshi Bhargava
Commack Hospitality, LLC
265 Brookville Road
Brookville, NY 11545

YOU ARE HEREBY SUMMONED and required to file with the Clerk of this Court and
serve upon, plaintiff's attomey, whose address is:
Connell Foley LLP

85 Livingston Avenue
Roseland, New Jersey 07068

an answer to the complaint which is herewith served upon you, within 20 days after service of
this summons upon you, exclusive of the day of service. If you fail to do $0, judgment by default

will be taken against you for the relief demanded in the complaint.

WILLIAM T. WALSH 1a

 

   

t

 

a Date

  

  
 

 

 
 

 

Case 2:05-cv-01384-JAP-MCA Document 2 Filed 03/16/05 Page 8 of 34 PagelD: 80

 

 

 

RETURN OF SERVICE
Service ofthe Summons and Complaint was made by me! Date
Name of Server Title

 

 

Check one bex below to indicate appropriate method of service

Oo Served personally upon the defendant. Place where served:
Meenakshi Bhargava |

oO Left copies thereof at the defendant’s dwelling house or usual place of abode with a person of suitable age and

discretion then residing therein.
Name of person with whom the summons and complaint were left:

 

Oo Retumed unexecuted:

 

 

Oo Other (Specify):

 

 

 

‘STATEMENT OF SERVICE FEES
Travel Services Total

 

 

 

 

DECLARATION OF SERVER

I declare under penalty of perjury under the laws of the United States of America that the foregoing information
contained in the Return of Service and Statement of Service Fees is true and correct.

 

Executed on
Date Signature of Server

 

Address of Server

 

4As to who may serve a summons see Rule 4 of the Federal Rules of Civil |
Procedure,

 
 

Case 2:05-cv-01384-JAP-MCA Document 2 Filed 03/16/05 Page 9 of 34 PagelD: 81 -

UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

 

 

WINGATE INNS = INTERNATIONAL,
INC., a Delaware Corporation,

Plaintiff, Civil Action No, 05- | BS 3 Hy

‘COMMACK HOSPITALITY, LLC, a

Virginia Corporation, NILESH PATEL, an
individual, SUDHA PATEL, an individual,
MEENAKSHI BHARGAVA, an individual,
MADAN BHANDARI, an individual, LOVE
KUMAR, an individual, AMIT PATEL, an
individual, VARSHA DESAI, an individual,
CHANDRA KHURANA, an _ individual,
NEENA SHAH, an individual, SUNITA
SHAH, an individual, BIPFAN CHODAY, an
individual, PARAMJIT SINGH, = an
individual, NIKUR AMIN, an individual,
VIRAL PATEL, an individual, PATEL
LIVING TRUST, a Virginia Trust, and ADA
HOLDING CORP., a Virginia corporation,

SUMMONS

Defendants.

To the above named Defendant: Love Kumar
~ Commack Hospitality, LLC
265 Brookville Road
Brookville, NY 11545

YOU ARE HEREBY SUMMONED and required to file with the Clerk of this Court and
serve upon, plaintiff's attomey, whose address is:
Connell Foley LLP
85 Livingston Avenue

Roseland, New Jersey 07068

an answer to the complaint which is herewith served upon you, within 20 days after service of

this summons upon you, exclusive of the day of service. If you fail to do so, judgment by default

 

 

will be taken against you for the relief demanded in the complaint.
WILLIAM T. WALSH 9/7 /c
——~ fy = Z?

Date jf

 
 
 

 
 

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Case 2:05-cv-01384-JAP-MCA Document 2. Filed 03/16/05 Page 10 of 34 PagelD: 82

 

RETURN OF SERVICE

 

Service of the Summons and Complaint was made by me®

Date

 

Name of Server Title

 

 

Check one box below to indicate appropriate method of service

Served personally upon the defendant. Place where served:

 

 

 

 

 

 

 

 

oO
Love Kumar.
o Left copies thereof at the defendant’s dwelling house or usual place of abode with a person of suitable age and
discretion then residing therein.
Naine of person with whom the summons and complaint were left:
Oo Returned unexecuted:
oO Other (Specify):
STATEMENT OF SERVICE FEES
Travel Services Total

 

 

 

 

Executed on

DECLARATION OF SERVER

I declare under penalty of perjury under the laws of the United States of America that the foregoing information
contained in the Return of Service and Statement of Service Fees is true and correct.

 

Date | Signature of Server

 

Address of Server

 

fAs to who may serve a summons see Rule 4 of the Federal Rules of Civil
Procedure.

 

 
Case 2:05-cv-01384-JAP-MCA Document 2 Filed 03/16/05 Page 11 of 34 PagelD: 83

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UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

 

WINGATE INNS = INTERNATIONAL,
INC., a Delaware Corporation,

laintiff, | |
Plainti . Civil Action No. 05- / 3927 SAP

COMMACK HOSPITALITY, LLC, a
Virginia Corporation, NILESH PATEL, an
individual, SUDHA PATEL, an individual,
MEENAKSHI BHARGAVA, an individual,
MADAN BHANDARI, an individual, LOVE
KUMAR, an individual, AMIT PATEL, an
individual, VARSHA DESAI, an individual,
CHANDRA KHURANA, an _ individual,
NEENA SHAH, an individual, SUNITA
SHAH, an individual, BIPAN CHODAY, an
individual, PARAMJIT SINGH, an
individual, NIKUR AMIN, an individual,
VIRAL PATEL, an individual, PATEL
LIVING TRUST, a Virginia Trust, and ADA
HOLDING CORP., a Virginia corporation,

SUMMONS

Defendants.
To the above narned Defendant: Madan Bhandari
Commack Hospitality, LLC
265 Brookville Road
Brookville, NY 11545

YOU ARE HEREBY SUMMONED and required to file with the Clerk of this Court and
serve upon, plaintiff's attorney, whose address 1s:
Connell Foley LLP

85 Livingston Avenue
Roseland, New Jersey 07068

an answer to the complaint which is herewith served upon you, within 20 days after service of
this summons upon you, exclusive of the day of service. If you fail to do so, judgment by default

will be taken against you for the relief demanded in the complaint.

WIT AAMT. WALSH YMME

Pind Wg “

By Deputy Clerk 7 -_

 
 

Case 2:05-cv-01384-JAP-MCA Document 2 Filed 03/16/05 Page 12 of 34 PagelD: 84 -

 

RETURN OF SERVICE

 

Service of the Summons and Complaint was made by me"

Date

 

Name of Server

Title

 

 

Check one box below ta indicate appropriate method of service

Oo Served personally upon the defendant. Place where served:

Madan Bhandari

 

Oo Left copics thereof at the defendant’s dwelling house or usual place of abode with a person of suitable age and

discretion then residing therein.

Name of person with whom the summons and complaint were left:

oO Returned unexecuted:

 

 

 

QO Other (Specify):

 

 

STATEMENT OF SERVICE FEES

 

Travel services

 

 

Total

 

DECLARATION OF SERVER

I declare under penalty of perjury under the laws of the United States of Amezica that the foregoing information
contained in the Retum of Service and Statement of Service Fees is true and correct.

Executed on
Date

 

Signature of Server

 

_Address of Server

 

SAs to who may serve a summons see Rule 4 of the Federal Rules of Civil

Procedure.
Case 2:05-cv-01384-JAP-MCA Document 2 Filed 03/16/05 Page 13 of 34 PagelD: 85

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UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

 

WINGATE INNS INTERNATIONAL,
INC., a Delaware Corporation,

Plaintiff, | Civil Action No. 05- al TH

COMMACK HOSPITALITY, LLC, a
Virginia Corporation, NILESH PATEL, an : SUMMONS
individual, SUDHA PATEL, an individual,
MEENAKSHI BHARGAVA, an individual,
MADAN BHANDARI, an individual, LOVE
KUMAR, an individual, AMIT PATEL, an
individual, VARSHA DESAI, an individual,
CHANDRA KHURANA, an _ individual,
NEENA SHAH, an individual, SUNITA
SHAH, an individual, BIPAN CHODAY, an
individual, PARAMJIT SINGH, an
individual, NIKUR AMIN, an_ individual,
VIRAL PATEL, an individual, PATEL
LIVING TRUST, a Virginia Trust, and ADA
HOLDING CORP., a Virginia corporation,

Defendants.
To the above named Defendant: Amit Patel
Commack Hospitality, LLC

265 Brookville Road
Brookville, NY 11545

YOU ARE HEREBY SUMMONED and required to file with the Clerk of this Court and
serve upon, plaintiff's attorney, whose address is:
Connell Foley LLP

85 Livingston Avenue
Roseland, New Jersey 07068 —

an answer to the complaint which is herewith served upon you, within 20 days after service of

this summons upon you, exclusive of the day of service. If you fail to do so, judgment by default

“ MT iM ‘on in the complaint. Hell Wy. Jis
Alii Vil

By Deputy Ly

 
 

, Case 2:05-cv-01384-JAP-MCA Document 2 Filed 03/16/05 : Page 14 of 34 PagelD: 86

 

RETURN OF SERVICE

 

Service ofthe Summons and Complaint was made by me! Date

Name of Server Title

 

 

 

Check one box below to indicate apprupriate method of service
Qo Served personally upon the defendant. Place where served:

Amit Patel

 

oO Left copies thereof at the defendant’s dwelling house or usual place of abode with a person of suitable age and
discretion then residing therein.
Name of person with whom the summons and complaint were left:

 

oi Returned unexecuted:

 

 

a Other (Specify):

 

 

 

STATEMENT OF SERVICE FEES
Travel Services Total

 

 

 

 

DECLARATION OF SERVER

‘I declare under penalty of perjury under the laws of the United States of America that the foregoing information
contamed in the Return of Service and Statement of Service Fees is true and correct,

Executed on

 

Date Signature of Server

 

Address of Server

 

 

7Bs to who may sérve a summons see Rule 4 of the Federal Rules of Civil
Procedure.

 
 

° Case 2:05-cv-01384-JAP-MCA Document 2 Filed 03/16/05 Page 15 of 34 PagelD: 87

UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

 

WINGATE INNS — INTERNATIONAL,
INC., a Delaware Corporation,

Plaintiff, Civil Action No. 05-— [594 aid

COMMACK HOSPITALITY, LLC, a
Virginia Corporation, NILESH PATEL, an :
individual, SUDHA PATEL, an individual,
MEENAKSHI BHARGAVA, an individual,
MADAN BHANDARI, an individual, LOVE
KUMAR, an individual, AMIT PATEL, an
individual, VARSHA DESAI, an individual,
CHANDRA KHURANA, an_ individual,
NEENA SHAH, an individual, SUNITA
SHAH, an individual, BIPAN CHODAY, an
individual, PARAMJIT SINGH, = an
individual, NIKUR AMIN, an individual,
VIRAL PATEL, an individual, PATEL
LIVING TRUST, a Virginia Trust, and ADA
HOLDING CORP., a Virginia corporation,

SUMMONS

Defendants.
To the above named Defendant: Varsha Desai
Commack Hospitality, LLC

265 Brookville Road
Brookville, NY 11545

YOU ARE HEREBY SUMMONED and required to file with the Clerk of this Court and

serve upon, plaintiff's attorney, whose address is:
Connell Foley LLP

85 Livingston Avenue
Roseland, New Jersey 07068

an answer to the complaint which is herewith served upon you, within 20 days after service of
this summons upon you, exclusive of the day of service. If you fail to do so, judgment by default

will be taken against you for the relief demanded in the complaint.

WILLIAM, T. WALSH _ VE
uly Da Nin

By Di eputy Clerk »

 
 

 

” Case 2:05-cv-01384-JAP-MCA Document 2 Filed 03/16/05. Page 16 of 34 PagelD: 88

 

 

 

RETURN OF SERVICE
Service of the Summons and Complaint was made by me! Date
Name of Server Title

 

 

Varsha Desai

Check one box below to indicate appropriate method of service

Oo Served personally upon the defendant. Place where served:

 

discretion then residing therein.

gq Left copies thereof at the defendant's dwelling house or usual place of abode with a person of suitable age and

Name of person with whom the summons and complaint were left:

 

 

oO Returned unexecuted:

 

O Other (Specify):

 

 

 

STATEMENT OF SERVICE FEES

 

Travel Services

 

Total

 

 

Executed on
Date

 

DECLARATION OF SERVER

I declare under penalty of perjury under the laws of the United States of America that the foregoing information
contained in the Return of Service and Statement of Service Fees is true and correct.

 

Signature of Server

 

Address of Server

 

§As to who may serve a summons see Rule 4 of the Federal Rules of Civil

Procedure.
» Case 2:05-cv-01384-JAP-MCA Document 2 Filed 03/16/05 Page 17 of 34 PagelD: 89

“ UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

 

WINGATE INNS INTERNATIONAL, :
INC., a Delaware Corporation,

Plaintiff, , Civil Action No.05- | 49 Tit

COMMACK HOSPITALITY, LLC, a
Virginia Corporation, NILESH PATEL, an :
individual, SUDHA PATEL, an individual, —
MEENAKSHI BHARGAVA, an individual,
MADAN BHANDARI, an individual, LOVE
KUMAR, an individual, AMIT PATEL, an
individual, VARSHA DESAI, an individual,
CHANDRA KHURANA, an individual,
NEENA SHAH, an individual, SUNITA
SHAH, an individual, BIPAN CHODAY, an
individual PARAMJIT SINGH, = an
individual, NIKUR AMIN, an individual,
VIRAL PATEL, an individual, PATEL
LIVING TRUST, a Virginia Trust, and ADA
HOLDING CORP., a Virginia corporation,

SUMMONS

Defendants.

To the above named Defendant: Neena Shah
Commack Hospitality, LLC
265 Brookville Road
Brookville, NY 11545

YOU ARE HEREBY SUMMONED and required to file with the Clerk of this Court and
serve upon, plaintiff's attomey, whose address is:
Connell Foley LLP

85 Livingston Avenue
Roseland, New Jersey 07068

an answer to the complaint which ts herewith served upon you, within 20 days after service of

this summons upon you, exclusive of the day of service. If you fail to do so, judgment by default

will be taken against you for the relief demanded in the complaint.

WILUIAMT.WALSH MLE
lilt U4

Deputy Clerk

 
Case 2:05-cv-01384-JAP-MCA Document 2 Filed 03/16/05 Page 18 of 34 PagelD: 90

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RETURN OF SERVICE

 

Service of the Surtmons and Complaint was madeby me!° Date

Name of Server Title

 

 

 

Check one box below ta indicate appropriate method of service

 

o served personally upon the defendant. Place where served:
Necna Shah_
Oo Left copies thereof at the defendant’s dwelling house or usual place of abode with a person of suitable age and

discretion then residing therein.
Name of person with whom the summons and complaint were left:

 

oO Returned unexecuted:

 

 

O _— Other (Specify):

 

 

 

STATEMENT OF SERVICE FEES
Travel Services Total

 

 

 

 

DECLARATION OF SERVER

I declare under penalty of perjury under the laws of the United States of America that the foregoing information
contained in the Return of Service and Statement of Service Fees is true and correct.

Executed on

 

Date Si gnature of Server

 

Address of Server

 

 

0As to who may serve a summons see Rule 4 of the Federal Rules of Civil
Procedure.

 
Case 2:05-cv-01384-JAP-MCA Document 2 Filed 03/16/05 Page 19 of 34 PagelD: 91

UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

=

 

WINGATE INNS INTERNATIONAL,
INC., a Delaware Corporation,

Plaintiff, Civil Action No. 0s. | 3 7 Sit

¥,

COMMACK HOSPITALITY, LLC, a
Virginia Corporation, NILESH PATEL, an : SUMMONS
individual, SUDHA PATEL, an individual,
MEENAKSHI BHARGAVA, an individual,
MADAN BHANDARI, an individual, LOVE
KUMAR, an individual, AMIT PATEL, an
individual, VARSHA DESAI, an individual, .
CHANDRA KHURANA, an_ individual,. ~
NEENA SHAH, an individual, SUNITA
SHAH, an individual, BIPAN CHODAY, an
individual oPARAMIJIT SINGH, = an
‘individual, NIKUR AMIN, an individual,
VIRAL PATEL, an individual, PATEL
LIVING TRUST, a Virginia Trust, and ADA
HOLDING CORP., a Virgmia corporation,

 

Defendants.
To the above named Defendant: Chandra Khurana
Commack Hospitality, LLC
265 Brookville Road
Brookville, NY 11545

YOU ARE HEREBY SUMMONED and required to file with the Clerk of this Court and |
serve upon, plaintiff's attorney, whose address is:
Connell Foley LLP

85 Livingston Avenue
Roseland, New Jersey 07068

an answer to the complaint which is herewith served upon you, within 20 days after service of
this summons upon you, exclusive of the day of service. If you fail to do so, judgment by default
Wi be taken against you for the relicf demanded in the complaint. a
WAM T. WALSH 3/s
: i / ,

if

 

  
   

  
 

  
 

Date

   

   

Clerk /:
Case 2:05-cv-01384-JAP-MCA Document 2 Filed 03/16/05 ‘Page 20 of 34 PagelD: 92

 

 

RETURN OF SERVICE
Service of the Summons and Complaint was made by me? Date
Name of Server Title

 

 

Check one box below to indicate appropriate method of service

 

 

QD Served personally upon the defendant. Place where served:
Chandra Khurana
O Left copies thereof at the defendant’s dwelling house or usual place of abode with a person of suitable age and

discretion then residing therein.
Name of person with whom the summons and complaint were left:

 

qo Retumed unexccuted:

 

 

oO Other (Specify):

 

 

 

STATEMENT OF SERVICE FEES
Travel Services Total

 

 

 

 

DECLARATION OF SERVER

I declare under penalty of perjury under the laws of the United States of America that the foregoing information
contained in the Return of Service and Statement of Service Fees is true and correct.

Executed on

 

Date _ ‘Signature of Server

 

Address of Server

 

 

9As to who may serve a summons see Rule 4 of the Federal Rules of Civil
Procedure,

 
+ Case 2:05-cv-01384-JAP-MCA Document 2 Filed 03/16/05 Page 21 of 34 PagelD: 93

UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

 

WINGATE INNS — INTERNATIONAL,
INC., a Delaware Corporation,

Plaintiff, ) nod
“ : Civil Action No. 05- [Ax Hy

‘COMMACK HOSPITALITY, LLC, a
Virginia Corporation, NILESH PATEL, an
individual, SUDHA PATEL, an individual, —
MEENAKSHI BHARGAVA, an individual, ‘
MADAN BHANDARI, an individual, LOVE
KUMAR, an individual, AMIT PATEL, an
individual, VARSHA DESAI, an individual,
CHANDRA KHURANA, an individual,
NEENA SHAH, an individual, SUNITA
SHAH, an individual, BIPAN CHODAY, an
individual, PARAMJIT SINGH, == an
individual, NIKUR AMIN, an individual,
VIRAL PATEL, an individual, PATEL
LIVING TRUST, a Virginia Trust, and ADA
HOLDING CORP., a Virginia corporation,

SUMMONS

Defendants.

To the above named Defendant: Bipan Choday
Commack Hospitality, LLC
265 Brookville Road
Brookville, NY 11545

YOU ARE HEREBY SUMMONED and required to file with the Clerk of this Court and |
serve upon, plaintiff’s attomey, whose address is:

Connell Foley LLP
$5 Livingston Avenue
Roseland, New Jersey 07068

an answer to the complaint which is herewith served upon you, within 20 days after service of

this summons upon you, exclusive of the day of service. If you fail to do so, judgment by default

 

 

Date

will be taken against you for the relief demanded in the erm
WILLIAM T. WALSH g Wife We fie

j lll hi V4 [fe

By Deputy. Clerk.

 
_ * Case 2:05-cv-01384-JAP-MCA Document 2 Filed 03/16/05 Page 22 of 34 PagelD: 94

 

 

 

RETURN OF SERVICE
Service of the Summons and Complaint was madeby me’? Date
Name of Server Title

 

 

Check one box below to indicate appropriate method of service

 

Oo Served personally upon the defendant, Place where served:
Bipan Choday
Oo Left copies thereof at the defendant's dwelling house or usual place of abode with a person of suitable age and

discretion then residing therein.
- Name of person with whom the summons and complaint were left:

 

 

O Returned unexecuted:

 

 

oO Other (Specify):

 

 

STATEMENT OF SERVICE FEES
Travel Services Total

 

 

 

 

DECLARATION OF SERVER

[declare under penalty of perjury under the laws of the United States of America that the foregoing information
contained in the Retum of Service and Statement of Service Fees is true and correct.

Executed on

 

Date Signature of Server

 

Address of Server

 

 

As to who may serve a summons see Rule 4 of the Federal Rules of Civil
Procedure,

 

 
 

 

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UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

 

WINGATE INNS = INTERNATIONAL,
INC., a Delaware Corporation,

Plaintiff, Civil Action No. 05. | 384 thy

‘COMMACK HOSPITALITY, LLC, a
Virginia Corporation, NILESH PATEL, an
individual, SUDHA PATEL, an individual,
MEENAKSHI BHARGAVA, an individual,
MADAN BHANDARI, an individual, LOVE
KUMAR, an individual, AMIT PATEL, an
individual, VARSHA DESAL an individual,
CHANDRA KHURANA, an_ individual,
NEENA SHAH, an individual, SUNITA
SHAH, an individual, BIPFAN CHODAY, an
individual, PARAMJIT SINGH, = an
individual, NIKUR AMIN, an individual,
VIRAL PATEL, an individual, PATEL
LIVING TRUST, a Virginia Trust, and ADA
HOLDING CORP., a Virginia corporation,

SUMMONS

Defendants.
To the above named Defendant: Sunita Shah .
Commack Hospitality, LLC

265 Brookville Road
Brookville, NY 11545

YOU ARE HEREBY SUMMONED and required to file with the Clerk of this Court and

serve upon, plaintiff’s attorncy, whose address is:
Connell Foley LLP

$5 Livingston Avenue
Roseland, New Jersey 07068

an answer to the complaint which is herewith served upon you, within 20 days after service of

this summons upon you, exclusive of the day of service. If you fail to do so, judgment by default

will be taken against you for the relief demanded in the complaint.

WILLAAM. T. WALSH We Le
_ Date

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_ +? Case 2:05-cv-01384-JAP-MCA Document 2 Filed 03/16/05 Page 24 of 34 PagelD: 96 -

 

 

 

RETURN OF SERVICE
Service of the Sunammonsand Complaint was made by me! Date
Name of Server Title

 

 

Check one box below to indicate appropriate method of service

 

Oo Served personally upon the defendant, Place where served:
Sunita Shah
5 Left copies thereof at the defendant’s dwelling house or usual place of abode with a person of suitable age and

discretion then residing therein.
Name of person with whom the summons and complaint were left:

 

oO Returned wnexecuted:

 

 

q Other (Specify):

 

 

 

STATEMENT OF SERVICE FEES
Travel Services Total

 

 

 

 

DECLARATION OF SERVER

I declare under penalty of perjury under the laws of the United States of America that the foregoing information
contained in the Return of Service and Statement of Service Fees i is true and correct.

Executed on

 

Date Signature of Server

 

Address of Server

 

 

las to who may serve a SUMMONS see Rule 4 of the Federal Rules of Civil
Procedure.

 
 

, Case 2:05-cv-01384-JAP-MCA Document 2 Filed 03/16/05 Page 25 of 34 PagelD: 97

UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

 

WINGATE INNS = INTERNATIONAL,
INC., a Delaware Corporation,

Plaintiff, . Civil Action No. O5-— [OS Shy

COMMACK HOSPITALITY, LLC, a
Virginia Corporation, NILESH PATEL, an
individual, SUDHA PATEL, an individual,
MEENAKSHI BHARGAVA, an individual,
MADAN BHANDARI, an individual, LOVE
KUMAR, an individual, AMIT PATEL, an
individual, VARSHA DESAI, an individual,
CHANDRA KHURANA, an_ individual,
NEENA SHAH, an individual, SUNITA
SHAH, an individual, BIPAN CHODAY, an
individual PARAMJIT SINGH, — an
individual, NIKUR AMIN, an individual,
VIRAL PATEL, an individual, PATEL
LIVING TRUST, a Virginia Trust, and ADA
HOLDING CORP., a Virginia corporation,

SUMMONS

Defendants.
To the above named Defendant: Nikur Amin
Commack Hospitality, LLC

265 Brookville Road
Brookville, NY 11545

YOU ARE HEREBY SUMMONED and required to file with the Clerk of this Court and
serve upon, plaintiff's attorney, whose address is:
Connell Foley LLP

85 Livingston Avenue
Roseland, New Jersey 07068

an answer to the complaint which is herewith served upon you, within 20 days after service of

this summons upon you, exclusive of the day of service. If you fail to do so, judgment by default

WOlls

will be taken against you for the relief demanded in the complaint.

WILLIAM T. WALSH
Tk byl [ Tut “

By Deputy Clerk

 

 

Date
 

Case 2:05-cv-01384-JAP-MCA Document 2 Filed 03/16/05 Page 26 of 34 PagelD: 98

 

 

 

RETURN OF SERVICE
Service of the Summons and Complaint was made by me"* Date
Name of Server Title

 

 

Check one box below to indicate apprapriate method of service

 

discretion then residing therein.

Name of person with whom the summons and complaint were left:

oO Served personally upon the defendant. Place where served:
Nikur Amin
Oo Lefi copies thereof al the defendant’s dwelling house or usual place of abode with a person of suitable age and

 

oO Returned unexecuted:

 

 

Oo Other (Specify):

 

 

 

STATEMENT OF SERVICE FEES

 

Travel Services

 

 

Total

 

Executed on
Date

 

DECLARATION OF SERVER

I declare under penalty of perjury under the laws of the United States of America that the foregoing information
contained in the Return of Service and Statement of Service Fees is true and correct.

 

Signature of Server

 

Address of Server

 

l4As to who may serve a summons see Rule 4 of the Federal Rules of Civil

Procedure.
~*~ Case 2:05-cv-01384-JAP-MCA Document 2 Filed 03/16/05 Page 27 of 34 PagelD: 99

UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

 

WINGATE INNS INTERNATIONAL,
INC., a Delaware Corporation,

Plaintiff, . ; Civil Action No. 05- | 1H whi

COMMACK HOSPITALITY, LLC, a

Virginia Corporation, NILESH PATEL, an : SUMMONS
individual, SUDHA PATEL, an individual,
MEENAKSHI BHARGAVA, an individual,

MADAN BHANDARI, an individual, LOVE

KUMAR, an individual, AMIT PATEL, an

individual, VARSHA DESAI, an individual,

CHANDRA KHURANA, an_ individual,

NEENA SHAH, an individual, SUNITA

SHAH, an individual, BIPAN CHODAY, an

individual, PPARAMJIT SINGH, = an

individual, NIKUR AMIN, an_ indrvidual,

VIRAL PATEL, an individual, PATEL

LIVING TRUST, a Virginia Trust, and ADA

HOLDING CORP., a Virginia corporation,

 

Defendants,
To the above named Defendant: Paramjit Singh
Commack Hospitality, LLC
265 Brookville Road

Brookville, NY 11545
YOU ARE HEREBY SUMMONED and required to file with the Clerk of this Court and

serve upon, plaintiff's attorney, whose address is:
Connell Foley LLP

85 Livingston Avenue
Roseland, New Jersey 07068 _

an answer to the complaint which is herewith served upon you, within 20 days after service of
\

this summons upon you, exclusive of the day of service. If you fail to do so » Judgment by default

__-will be taken against you for the relief demanded in the complaint.
WILLIAM T. WALSH Sill

[Ut ig (a

By Deputy Clerk

 
_* Case 2:05-cv-01384-JAP-MCA Document 2 Filed 03/16/05 Page 28 of 34 PagelD: 100

 

 

 

RETURN OF SERVICE
Service of the Summons and Complaint was mack by me” Date
Name of Server Title

 

 

Check one box below to indicate appropriate method of service

 

o Served personally upon the defendant. Place where served:
Paramjit Singh
Oo Left copies thereof at the defendant’s dwelling house or usual place of abode with a person of suitable age and

discretion then residing therein.
Name of person with whom the summons and complaint were left:

 

Oo Returned unexecuted:

 

 

Oo Other (Specify):

 

 

 

STATEMENT OF SERVICE FEES
Travel Services Total

 

 

 

 

DECLARATION OF SERVER

I declare under penalty of peryury under the laws of the United States of America that the foregoing information
contained in the Return of Service and Statement of Service Fees is true and correct.

Executed on

 

Date a Signature of Server

 

Address of Server

 

 

as to who may serve a summons see Rule 4 of the Federal Rules of Civil
Procedure.

 
 

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UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

 

WINGATE INNS INTERNATIONAL,
INC., a Delaware Corporation,

Plaintiff, ; Civil Action No, 03- [384 TRY

COMMACK HOSPITALITY, LLC, a
Virginia Corporation, NILESH PATEL, an
individual, SUDHA PATEL, an individual,
MEENAKSHI BHARGAVA, an individual,
MADAN BHANDARI, an individual, LOVE
KUMAR, an individual, AMIT PATEL, an
individual, VARSHA DESAI, an individual,
CHANDRA KHURANA, an_ individual,
NEENA SHAH, an individual, SUNITA
SHAH, an individual, BIPAN CHODAY, an
individual, PARAMJIT SINGH, an
individual, NIKUR AMIN, an individual,
VIRAL PATEL, an individual, PATEL
LIVING TRUST, a Virginia Trust, and ADA
HOLDING CORP., a Virginia corporation,

SUMMONS

Defendants,
To the above named Defendant: Viral Patel
Commack Hospitality, LLC

265 Brookville Road
Brookville, NY 11545

YOU ARE HEREBY SUMMONED and required to file with the Clerk of this Court and
serve upon, plaintiff's attorney, whose address is:
Connell Foley LLP

85 Livingston Avenue
Roseland, New Jersey 07068

an answer to the complaint which is herewith served upon you, within 20 days after service of
this summons Upon you, exclusive of the day of service. If you fail to do so, judgment by default

WILLIAM. T. WALSH in the complaint. alg Is
Date ( i
fluidic. l UL ™

By Deputy Clerk

 
; * Case 2:05-cv-01384-JAP-MCA Document 2. Filed 03/16/05 Page 30 of 34 PagelID: 102

 

 

RETURN OF SERVICE
: . 15 Date
Service of the Summons and Coniplaint was made by me
Name of Server Title

 

 

Check one box below to indicate appropriate method of service

 

qo Served personally upon the defendant. Place where served:
Viral Patel
Q Left copies thereof at the defendant’s dwelling house or usual place of abode with a person of suitable age and

discretion then residing therein.
Name of person with whom the summons and complaint were left:

 

D Retumed unexecuted:

 

 

o Other (Specify):

 

 

 

STATEMENT OF SERVICE FEES
Travel Services Total

 

 

 

 

DECLARATION OF SERVER

1 declare under penalty of perjury under the laws of the United States of America that the foregoing information
contained in the Return of Service and Statement of Service Fees is true and correct.

Executed on

 

Date Signature of Server

 

Address of Server

 

 

GAs to who may serve 4 summons see Rule 4 of the Federal Rules of Civil
Procedure.

 
 

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UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

 

WINGATE INNS = INTERNATIONAL,
INC., a Delaware Corporation,

Plaintiff, Civil Action No. 05-_ | / 3 SY

¥.

COMMACK HOSPITALITY, LLC, a
Virginia Corporation, NILESH PATEL, an : SUMMONS
individual, SUDHA PATEL, an individual,
MEENAKSHI BHARGAVA, an individual,
MADAN BHANDARI, an individual, LOVE
KUMAR, an individual, AMIT PATEL, an
individual, VARSHA DESAI, an individual,
CHANDRA KHURANA, an _ individual,
NEENA SHAH, an individual, SUNITA
SHAH, an individual, BPAN CHODAY, an
individual PARAMJIT SINGH, an
individual, NIKUR AMIN, an individual,
VIRAL PATEL, an individual, PATEL
LIVING TRUST, a Virginia Trust, and ADA
HOLDING CORP., a Virginia corporation,

 

Defendants.
To the above named Defendant: Patel Living Trust |
| Commack Hospitality, LLC
265 Brookville Road
Brookville, NY 11545

YOU ARE HEREBY SUMMONED and required to file with the Clerk of this Court and

serve upon, plaintiff's attomey, whose address is:
Connell Foley LLP

85 Livingston Avenue
Roseland, New Jersey 07068

an answer to the complaint which is herewith served upon you, within 20 days after service of

this summons upon you, exclusive of the day of service. If you fail to do so, judgment by default

will be taken against you for the relief demanded in the complaint. / J
Cle i . ig fT

4
iff ;

 

Date

     
 
 

Case 2:05-cv-01384-JAP-MCA Document 2 Filed 03/16/05 . Page 32 of 34 PagelD: 104

7”

 

RETURN OF SERVICE

 

Service of the Summons and Complaint was made by me'*

Date

 

Name of Server

Title

 

 

Patel Living Trust

Check one box below to indicate appropriate method of service

oO served personally upon the defendant. Place where served:

 

discretion then residing therein.

Oo Left copies thereof at the defendant's dwetling house or usual place of abode with a person of suitable age and

' Name of person with whom the summons and complaint were left:

 

oO Returned unexecuted:

 

 

o Other (Specify):

 

 

 

STATEMENT OF SERVICE FEES

 

Travel Services

 

Total

 

 

Executed on
Date

 

DECLARATION OF SERVER

I declare under penalty of perjury under the laws of the United States of America that the foregoing information
contained in the Return of Service and Statement of Service Fees is true and correct.

 

Signature of Server

 

Address of Server

 

18 As to who may serve a summons see Rule 4 of the Federal Rules of Civil

Procedure.
 

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UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

 

WINGATE INNS INTERNATIONAL,
INC., a Delaware Corporation,

Plaintiff, . . Civil Action No. 05-— / AY Phi

COMMACK HOSPITALITY, LLC, a
Virginia Corporation, NILESH PATEL, an
individual, SUDHA PATEL, an individual,
MEENAKSHI BHARGAVA, an individual, -
MADAN BHANDARI, an individual, LOVE
KUMAR, an individual, AMIT PATEL, an
individual, VARSHA DESAI, an individual,
CHANDRA KHURANA, an _ individual,
NEENA SHAH, an individual, SUNITA
SHAH, an individual, BIPAN CHODAY, an
individual PARAMJIT SINGH, an
individual, NIKUR AMIN, an individual,
VIRAL PATEL, an individual, PATEL
LIVING TRUST, a Virginia Trust, and ADA
HOLDING CORP., a Virginia corporation,

SUMMONS

Defendants.

To the above named Defendant: ADA Holding Corp.
35 Adams Court
Plainview, NY 11803

YOU ARE HEREBY SUMMONED and required to file with the Clerk of this Court and
serve upon, plaintiff's attorney, whose address is:
Connell Foley LLP

85 Livingston Avenue .
Roseland, New Jersey 07068

an answer to the complaint which is herewith served upon you, within 20 days after service of
this summons upon you, exclusive of the day of service, If you fail to do so, judgment by default

will be taken against ‘you for the relief demanded in the complaint.

of fs / | Date /
AMAGKE ( My [{ -
By Deputy Clerk =e 7 A

 
   

 

   
 

«Case 2:05-cv-01384-JAP-MCA Document 2 Filed 03/16/05 Page 34 of 34 PagelD: 106

 

RETURN OF SERVICE

 

Service of the Summons and Complaint was made by me’?

Date

 

Name of Server

Title

 

 

Commack Hospitality, LLC

Check ane box below to indicate appropriate method of service

Oo Served personally upon the defendant. Place where served:

 

discretion then residing therein.

Oo Left copies thereof at the defendant’s dwelling house or usual place of abode with a person of suitable age and

~ Name of person with whom the summons and complaint were left:

 

oO Returned unexecuted:

 

 

im Other (Specify):

 

 

 

STATEMENT OF SERVICE FEES

 

Travel Services

 

Total

 

 

Executed on
Date

 

DECLARATION OF SERVER

I declare under penalty of perjury under the jaws of the United States of America that the foregoing information
contained in the Retum of Service and Statement of Service Fees is true and correct.

 

Signature of Server

 

Address of Server

 

I7 As to who may sexve a summons see Rule 4 of the Federal Rules of Civil

Procedure.
